          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 1:99cr52-19



UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff,              )
                                         )
                 vs.                     )     ORDER
                                         )
LONNIE EDGAR PEELER, JR.,                )
                                         )
                 Defendant.              )
                                         )

     THIS MATTER is before the Court on the Defendant’s motion for writ

of habeas corpus pursuant to 28 U.S.C. § 1651 [Doc. 505].

     The procedural history of this case has been thoroughly summarized

in the prior Orders of this Court and is incorporated herein. [See Docs.

482, 497, 503]. Due to the retirement of the Honorable Lacy H. Thornburg,

United States District Judge, this matter was reassigned to the

undersigned on November 25, 2009.

     In his present motion, the Defendant seeks reconsideration by a

different judge of Judge Thornburg’s prior rulings. Having raised the same

issues as were asserted in his prior motions, the Defendant’s motion is




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denied for the same reasons as set forth in Judge Thornburg’s Orders

entered May 29, 2008 and December 12, 2008. [See Docs. 497, 503].

      Previously, Judge Thornburg clearly warned the Defendant herein

that future frivolous filings would result in imposition of a pre-filing review

system for summary dismissal of pleadings not made in good faith and

lacking substance. [Doc. 503 at 8-9]. That warning already having been

given, a similar warning is called for in this case, to the effect that prisoners

do not have an absolute and unconditional right of access to the courts in

order to prosecute frivolous, malicious, abusive or vexatious motions. See,

e.g., In re Vincent, 105 F.3d 943, 945 (4th Cir. 1997); see also Tinker v.

Hanks, 255 F.3d 444, 445 (7th Cir. 2001); Demos v. Keating, 33 F. App’x

918, 920 (10th Cir. 2002). The Defendant is again warned that future

frivolous filings will result in the imposition of a pre-filing review system.

See Vestal v. Clinton, 106 F.3d 553, 555 (4th Cir. 1997). If such a system

is placed in effect, the Defendant is cautioned that pleadings presented to

the Court which are not made in good faith and which do not contain

substance will be summarily dismissed as frivolous, see Foley v. Fix, 106

F.3d 556, 558 (4th Cir. 1997), and that if such writings persist, the pre-filing




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system may be modified to include an injunction from filings. See, e.g., In

re Martin-Trigona, 737 F.2d 1254, 1262 (2d Cir. 1984).

     For the foregoing reasons, IT IS, THEREFORE, ORDERED that the

Defendant’s motion for writ of habeas corpus pursuant to 28 U.S.C. § 1651

[Doc. 505] is DENIED.

     IT IS SO ORDERED.



                                     Signed: December 30, 2009




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